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                                                                                                                FILED
                                                                                                     VANESSA L. ARMSTRONG
AO 91 (Rev. I !Ill) Criminal Com~laint
                                                                                                                     e
                                                                                                              di:Jt 7 ro10
                                           UNITED STATES DISTRICT COURT                                U.S. DISTRICT COURT
                                                       for the                                        WESrN. DIST. KENTUCKY
                                           WESTERN DISTRICT OF KENTUCKY

              UNITED STATES OF AMERICA                                 )
                   v.                                                  )

               MIRSAD RAMIC
                                                                       )
                                                                       )
                                                                                Case No.      7~ )b -;/'fJJ?)j)
                   Defendant

                                                     CRIMINAL COMPLAINT

              I, the complainant in this case, state the following is true to the best of my knowledge and belief.

        On or about June 2014 to continuing to September 2015, in Warren County in the Western District of
Kentucky, and elsewhere, the defendant violated:

              Code Section                                     Offense Description

              18   u.s.c. 23398                                Providing and Attempting and Conspiring to Provide Material
                                                               Support and Resources to a Designated Foreign Terrorist
                                                               Organization

              18 U.S.C. 2339D                                  Receiving Military-Type Training From a Designated Foreign
                                                               Terrorist Organization

              This criminal complaint is based on these facts:

              /              Continued on the attached sheet: See Attached Affidavit for Criminal Complaint




                                                               WILLIAM B. KURTZ, SPECIAL        ~GENT     FBI
                                                                     Printed name and title




                                                                   ~;g~
Sworn to before me and signed in my presence.

Date:      9{"t[«.blf,
City and State: Louisville, Kentucky                           COLIN H. LINDSAY, U.S. MAGISTRATE
                                                                     Printed Name and Title
                                                                                                                             JDJ
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                                 AFFIDAVIT IN SUPPORT OF
                                  CRIMINAL COMPLAINT

        I, William B. Kurtz, being first duly sworn, hereby depose and state as follows:

   I.        INTRODUCTION AND AGENT BACKGROUND

        1.     I am a "federal law enforcement officer" within the meaning of Federal Rule of

Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing the criminal

laws and duly authorized by the Attorney General to request search and arrest warrants. I have

been a Special Agent with the Federal Bureau oflnvestigation (FBI) since June 2014. I received

training in counterterrorism investigations at the FBI Academy, located in Quantico, Virginia.

Prior to becoming a Special Agent, I served for over five years as an FBI Intelligence Analyst in

the Counterterrorism Division of FBI Headquarters. During this time I provided intelligence

support to numerous counterterrorism investigations including cases involving individuals who

traveled overseas to join foreign terrorist organizations. I have been involved in the execution of

search warrants. Through my training, education, and experience, I have become familiar with

criminal activity and the criminal justice system. I am authorized to investigate violations of the

laws of the United States (including those related to terrorism offenses), and to execute warrants

issued under the authority of the United States.

        2.     I make this affidavit in support of a criminal complaint and arrest warrant for

MIRSAD RAMIC. Based on my training and experience and the facts as set forth in this

affidavit, there is probable cause to believe that violations of Title 18, United States Code,

Sections 2339B (Providing and Attempting and Conspiring to Provide Material Support and

Resources to a Designated Foreign Terrorist Organization) and 2339D (Receiving Military-Type

Training From a Designated Foreign Terrorist Organization), have been committed by MIRSAD

RAMI C.
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          3.     This affidavit is intended to show merely that there is sufficient probable cause

for the requested criminal complaint and does not set forth all of my knowledge about this

matter.

   II.         SUMMARY OF PROBABLE CAUSE

          4.     On June 3, 2014, RAMIC and his two associates, Co-Conspirator 1 (CC-1), and

Co-Conspirator 2 (CC-2) each boarded flights departing Nashville, Tennessee, for Istanbul,

Turkey. RAMIC traveled on a flight through Houston, Texas, while CC-1 and CC-2 traveled

together on a flight through Dulles Airport. Upon arrival in Istanbul, all three purchased one-

way tickets with cash on the same flight from Istanbul to Gaziantep, Turkey, a city located near

the border with Syria. As set forth in detail below, the FBI believes the three men crossed the

border into Syria and subsequently joined the Islamic State in Iraq and the Levant ("ISIL"), a

designated foreign terrorist organization.

          5.     On October 15,2004, The United States Secretary of State designated al Qa'ida in

Iraq (AQI), then known as Jam' at al Tawhid wa'al-Jihad, as a Foreign Terrorist Organization

("FTO") under Section 219 of the Immigration and Nationality Act and as a Specially

Designated Global Terrorist under section 1(b) of Executive Order 13224. On May 15, 2014, the

Secretary of State amended the designation of al-Qa'ida in Iraq ("AQI") as a Foreign Terrorist

Organization ("FTO") under Section 219 of the Immigration and Nationality Act and as a

Specially Designated Global Terrorist entity under section 1(b) of Executive Order 13224 to add

the alias Islamic State of Iraq and the Levant ("ISIL") as its primary name. The Secretary also

added the following aliases to the ISIL listing: the Islamic State oflraq and al-Sham ("ISIS"),

the Islamic State oflraq and Syria ("ISIS"), ad-Dawla al Islamiyya fi al-'Iraq wa-sh-Sham,

Daesh, Dawla al Islamiya, and Al-Furqan Establishment for Media Production. Although the

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group has never called itself"Al-Qaeda in Iraq (AQI)" this name has frequently been used to

describe it through its history. To date, ISIL remains a designated FTO. In an audio recording

publicly released on June 9, 2014, ISIS announced a formal change ofiSIS's name to Islamic

State ("IS").

       6.         As more fully discussed below, the FBI's investigation to-date reveals the

following:

             a. RAMIC, CC-1, and CC-2 all left the United States on June 3, 2014;

             b. RAMIC, CC-1, and CC-2 all routed their travel through Istanbul, Turkey, and

                  they all failed to take the last leg of their ticketed flights to destinations outside

                  Turkey;

             c. RAMIC, CC-1, and CC-2 all paid cash for one way tickets and traveled together

                  on the same flight from Istanbul to Gaziantep, Turkey, located near the border

                  with Syria;

             d. RAMIC, CC-1, and CC-2 communicated via email after crossing in to Syria.

                  Their communications reference their locations in Syria and Iraq, in cities

                  controlled by ISIL. Their communications also reference jihad, and the death of

                  CC-2 in battle in early 2015 and his being considered a martyr;

             e. CC-1 used his email account to send two separate e-mails to Western Kentucky

                  University, after leaving the United States, advising, in sum and substance, that he

                  had traveled to Syria to join ISIL, as well as his desire that ISIL will someday

                  conquer the United States.

             f.   An FBI Cooperating Witness ("CW") has identified RAMIC as someone the CW

                  met while in an ISIL training camp in Syria in 2014. The CW has provided

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                  information which accurately describes RAMIC. The CW has further provided

                  information concerning the weapons training that was provided at that ISIL camp;

                  and

               g. The FBI has obtained a photograph ofRAMIC wearing camouflage clothing and

                  standing in front of a pickup truck outfitted with an anti-aircraft gun and the ISIL

                  flag. A second photograph ofRAMIC depicts him sitting and holding a rifle.

                  Both photographs were shown to RAMIC's mother who positively identified her

                  son, RAMIC.

          7.      The FBI believes RAMIC, aka Abu Hazim al Bosnawi, aka Ahmet Sinay, is

currently incarcerated in Turkey on pending Turkish terrorism -related charges. CC-1 may still

be fighting for ISIL. CC-2 was allegedly killed in battle in or about February or March 2015.

   III.        PROBABLE CAUSE

          8.      RAMIC, age 26, is a national of Bosnia and a naturalized United States citizen.

He was born in Bosnia and through the refugee program came to the United States with his

mother and sister when he was approximately 10 years old. He became a naturalized U.S.

citizen on September 17, 2009. He lived with his mother and sister in Bowling Green, Kentucky,

after his arrival in the United States. As set forth below, he left Kentucky in June 2014 to travel

to Syria to join ISIL. Although Ramie was not a student at Western Kentucky University,

various civilian witnesses have told the FBI that they often saw Ramie socializing with CC-1 and

CC-2. CC-1 and CC-2 are Saudi nationals who came to the U.S. on student visas and both

attended Western Kentucky University in Bowling Green, Kentucky.

          9.      Flight manifests obtained by the FBI show that RAMIC departed from Nashville,

Tennessee, on June 3, 2014 on a flight to Houston, Texas, and then to Istanbul, Turkey. CC-1

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and CC-2 flew together on a different flight on the same day, June 3, 2014, from Nashville to

Dulles Airport and then to Istanbul, Turkey. All three met in Istanbul and purchased one-way

tickets with cash on the same flight to Gaziantep, Turkey. Gaziantep is located near the border

with Syria. Significantly, the original flight tickets for all three individuals were flights to third

countries with only a stopover in Istanbul. RAMIC's final ticketed destination was Sarajevo,

Bosnia, while CC-1 and CC-2 each had a ticketed final destination of Riyadh, Saudi Arabia. The

airlines confirmed that each of the three did not use their final leg departing Istanbul. This

method is commonly used by aspiring ISIL fighters as a means to hide their travel and intentions.

          10.      Based on training and experience, I know many foreign fighters enter Syria

through Turkey because of its geographic proximity to the Syrian border areas where violent

extremist groups operate. Many would-be fighters simply take direct or indirect commercial

flights to Turkish airports before crossing into Syria.

          11.      After traveling to Syria, RAMIC remained in contact with CC-1 via email.

Emails from RAMIC's email account, XXXX@hotmail.com, and CC-1 's email account,

XXXX@hotmail.com, have been obtained pursuant to court authorization. 1 The sum and

substance of a portion of the emails is set forth below.

          12.      On July 30,2014, in an email, CC-1 and RAMIC discussed how RAMIC used a

dushka anti-aircraft weapon to shoot at planes. On July 30, 2014, in an email, RAMIC told CC-1

that he is in "Raqqah" Syria.




1
    The specific email accounts are known to your affiant but not set forth herein.

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          13.   On September 27,2014, in an email, ee-2 told ee-1 that he was in "Alanbar,

Ramadi province (Iraq)." On October 6, 2014, in an email, ee-2 told ee-1 that "Paradise and

the virgins long for you."

          14.   On November 15, 2014, in an email, ee-2 told RAMie, "Praise be to Allah, I

thought you were dead. I'm in the city ofRamadi in the province of Al-Anbar (Iraq)."

          15.   On December 6, 2014, in an email, RAMie told ee-1 that he is in Kobane

(Syria) and that today he got his vacation for 2 days. On December 6, 2014, in an email,

RAMie told ee-1 that he put ee-1 in his will so that ee-1 would get his belongings if RAMie

was killed during jihad.

          16.   On December 7, 2014, in an email, ee-1 told RAMie that as soon as ee-2 meets

him in Shadadi (city in Syria) they plan to go and meet RAMie.

          17.   On February 13, 2015, in an email, ee-2 told RAMie that he was in Mosul

(Iraq).

          18.   On March 1, 2015, RAMie received a message from ee-1 advising that ee-2

was missing and is being considered a martyr. On March 14, 2015, in an email, ee-1 stated that

ee-2 went to fight jihad and was killed by the crusader's plane. On March 14, 2015, in an

email, ee-1 stated that ee-2 was killed in Tal Hamis, Syria, and that he was supposedly

deterring an attack by the PKK. 2

          19.   In addition to these communications, ee-1 also communicated with

Western Kentucky University (WKU) on two occasions after leaving the United States.

The FBI obtained these emails from WKU officials. ee-1 was in the U.S. on a student

2
 PKK is a reference to "Partiya Karkeren Kurdistani," also known as the Kurdistan Worker's Party,
which is the primary Kurdish militia group fighting ISIL in or near Kobane, Syria.

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visa and had been studying at WKU prior to his June 2014 flight to Turkey. On

September 18, 2014, CC-1 sent an email to WKU from his email account,

XXXX@hotmail.com, which read in relevant part: [t]hree months ago I came to

factually believe that Islamic state in Iraq and Levant I.S.I.L is the true way. They follow

the footsteps of the prophet and take Qur' an as Imam. Alhamdulilah [praise to God] i

found my way to the land of al sham [Syria]; now I live under the caliphate[.]

       20.     Almost a year after his departure, on June 8, 2015, CC-1 sent another e-mail from

XXXX@hotmail.com to WKU stating "I am with islamic state. In sha Allah [God willing] when

we conquer the US I will look for you." WKU officials confirmed that the email address is

associated to CC-1 's student account.

       21.     The FBI has obtained a photograph ofRAMIC dressed in camouflage and

standing in front of a pickup truck outfitted with an anti-aircraft gun and an ISIL flag. Arabic

writing on the hood of the vehicle, though not definitively legible, appears to be the popular ISIL

slogan "A Caliphate based on the Prophetic Tradition." The photo is believed to have been taken

while RAMIC was in Syria. In a January 11, 2016, interview with the FBI, RAMIC's mother

admitted that she had received the same photo from RAMIC after he had left the United States.

She identified the individual in the photo as her son. During the same interview, RAMIC's

mother provided the FBI with an additional photo she had received from RAMIC after he had

left the United States. The second photo depicts RAMIC seated on the ground, wearing a typical

jihadi head covering and holding a rifle.

       22.     An FBI Cooperating Witness ("CW") has provided information concerning

RAMIC. The CW's information has been corroborated by the FBI. Information provided in

unrelated matters has also been corroborated and assessed as credible. The CW previously

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traveled to Syria and joined ISIL. After leaving Syria, the CW contacted the U.S. Government

and has since provided information in this case and other matters. The CW has pleaded guilty to

two charges: one count of providing material support to a foreign terrorist organization (FTO)

(ISIL), in violation of 18 U.S.C. Section 2339B, and one count of receiving military-type

training from an FTO (ISIL), in violation of 18 U.S.C. Section 2339D. The CW has not yet been

sentenced. The CW' s cooperation is in exchange for the possibility of receiving a reduced

sentence on those charges.

       23.     While in an ISIL training camp in Syria, the CW met an individual known as

"Abu Hazim al Bosnawi." The term "al Bosnawi" means the Bosnian. The CW described this

individual, believed to be RAMIC, as a Bosnian, approximately 5' 8" tall and approximately 26

years old. The CW stated that Abu Hazim told the CW that he has a criminal record and the CW

remembered it was in Kentucky or somewhere else in "the Bible belt." The CW also was told by

Abu Hazim that he knows the FBI has a case on him regarding jihadi activities, and that he

previously attempted to travel to Yemen but was kicked out and returned to the United States.

The CW stated that Abu Hazim likely arrived in Syria one month prior to CW' s arrival. The CW

also stated that Abu Hazim had multiple tattoos on both arms. The CW' s descriptions of Abu

Hazim accurately describe RAMIC. RAMIC, a Bosnian national, was born January 10, 1990,

and is currently 26 years old. He has several prior arrests in Kentucky for low level crimes.

Furthermore, RAMIC attempted to travel to Yemen in 2010 but was denied entry because he did

not possess the proper visa. RAMIC also has a large distinctive tattoo on his left forearm.

Finally, RAMIC's mother, during a January 2016 interview with the FBI, admitted that RAMIC

uses "Abu Hazim" for one of his online accounts. The CW has also identified several

photographs ofRAMIC.

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         24.     The CW first met Abu Hazim (RAMIC) at Camp Abdullah Aazzam, an ISIL

military training camp near Taqba, Syria. Abu Hazim (RAMIC) was in the "kadeemi group," the

group ahead of the CW' s group. They were together in the same camp for approximately a

couple of weeks-probably from mid to late July 2014. The CW recalls 1 or 2 direct

conversations they had while at the camp together. The conversations were in English and the

first occurred at night during tea when Abu Hazim (RAMIC) told the CW about himself. This

conversation lasted approximately 30 minutes.

         25.     The CW further advised that everyone at Camp Abdullah Aazzam received

military training from ISIL. The training included: weapons training and physical training. The

CW stated that every trainee at the camp fired an AK-4 7.

   IV.         CONCLUSION

         26.     Based on the facts as set forth in this affidavit, there is probable cause to believe

that violations of Title 18, United States Code, Sections 2339B (Providing and Attempting and

Conspiring to Provide Material Support and Resources to a Designated Foreign Terrorist

Organization) and 2339D (Receiving Military-Type Training From a Designated Foreign

Terrorist Organization), have been committed by MIRSAD RAMIC. Therefore, the affiant

respectfully requests a criminal complaint and arrest warrant for MIRSAD RAMIC for the

aforementioned crimes.

   V.          REQUEST FOR SEALING

         27.     The government respectfully moves for the complaint and arrest warrant to

remain sealed-with the exception that the complaint and arrest warrant are unsealed for the

limited purpose of disclosing the evidence of or disseminating the complaint and/or arrest

warrant to relevant United States, foreign, or intergovernmental authorities, at the discretion of

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the United States and in connection with efforts to prosecute the defendant or to secure the

defendant's arrest, extradition or expulsion, or as otherwise required for purposes of national

security.



                                                   Respectfully submitted,


                                                                       ----
                                                   Special Agent
                                                   Federal Bureau oflnvestigation



        Subscribed and sworn to before me on      tf- / :}-                        , 2016

            ~~
        COLIN H. LINDSA ~
        UNITED STATES MAGISTRATE JUDGE




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